                                          ORIGINA1                                        08/27/2024


            IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                      Case Number: DA 24-0486


                                       DA 24-0486


 STATE OF MONTANA,

             Plaintiff and Appellee,

       v.                                                           ORDER

 DANIEL JAMES MAROZZO,

             Defendant and Appellant.



       Self-represented Appellant Daniel James Marozzo moves this Court for substitution
or removal of his counsel, pursuant to M. R. App. P. 10(1)(c), in his pending criminal case
in the Nineteenth Judicial District Court, Lincoln County. He refers to an attached motion
for commitment as grounds.
       This Court received his motion three days after Marozzo filed a Notice of Appeal
in his underlying case, which is still pending. Attached to his Notice is a June 19, 2024
District Court Order determining that Marozzo should be committed to the Department of
Public Health and Human Services for a fitness-to-proceed evaluation. The court also set
a status hearing for September 9, 2024.
       Marozzo has come to the wrong court for relief. Marozzo does not appeal a final
judgment that substantially affects his rights. M. R. App. P. 4(5)(b)(i); § 46-20-104(1),
MCA. His appeal is not properly before this Court because his criminal case has not been
completed in the District Court, making his appeal premature. The District Court has
jurisdiction of his criminal case. Marozzo is not entitled to substitution or removal of his
counsel here. Accordingly,
      IT IS ORDERED that:
       1. Marozzo's Motion for Substitution or Removal of Counsel is DENIED;
       2. this appeal is DISMISSED without prejudice; and
      3. this matter is CLOSED as of this Order's date.
      The Clerk is directed to provide a copy of this Order to: the Honorable Matthew J.
Cuffe, District Court Judge; Tricia Brooks, Clerk of District Court, Lincoln County, under
DC-23-52; counsel of rec&amp;d; Ben Kolter, Defense Counsel; and Daniel James Marozzo.
      DATED this Z3 day of August, 2024.



                                                   #01                   7
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                                                                            4  0
                                                              Chief Justice


             FILED
              AUG 2 7 2024
            Bowen Greenwood
          Clerk of Supreme Court
             State of Montana




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